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JOSHUA SPRIESTERSBACH

                   UNITED STATES DISTRICT COURT
                          DISTRICT OF HAWAII


 JOSHUA SPRIESTERSBACH,                        Case No.

                     Plaintiff,                COMPLAINT; SUMMONS
         vs.
                                               (1) 42 U.S.C. 1983 – Fourth
                                                   Amendment



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 STATE OF HAWAIʻI, CITY AND COUNTY                 (2) 42 U.S.C. 1983 – Fourteenth
 OF HONOLULU, OFFICER ABRAHAM K.                        Amendment
 BRUHN, DEPARTMENT OF PUBLIC                       (3) Americans with Disabilities
 SAFETY, OFFICE OF THE PUBLIC                           Act
 DEFENDER, NIETZSCHE LYNN TOLAN,                   (4) Abuse of Process
 MICHELLE MURAOKA, LESLIE                          (5) Malicious Prosecution
 MALOIAN, JACQUELINE ESSER, JASON                  (6) False Imprisonment
 BAKER, MERLINDA GARMA, SETH                       (7) Negligence
 PATEK, DR. JOHN COMPTON, DR.                      (8) False Imprisonment
 MELISSA VARGO, DR. SHARON TISZA,                  (9) Negligence
 HAWAI‘I STATE HOSPITAL, DR. ALLISON               (10) Medical Malpractice
 GARRETT, and JOHN/JANE DOES 1-20,                 (11) Intentional Infliction of
                                                        Emotional Distress
                    Defendants.                    (12) Negligent Infliction of
                                                        Emotional Distress
                                                   (13) Legal Malpractice

                                                   JURY TRIAL DEMANDED
                               INTRODUCTION


      1.    Plaintiff Joshua Spriestersbach challenges his outrageous arrest,

detention, and forced medical treatment in the Oahu Community Correctional

Center and the Hawai‘i State Hospital over a period of 32 months under the name

of Thomas R. Castleberry, which is not his name, for felonies that Thomas R.

Castleberry committed, not Joshua.

      2.    Joshua was arrested and detained on May 11, 2017, for crimes

committed by a person named Thomas R. Castleberry. Before Joshua’s release on

January 17, 2020, he was forced to take psychiatric medications in increasing

doses until he became catatonic, all because Joshua continued to assert that he was




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not Thomas R. Castleberry and had not committed any of Thomas R. Castleberry’s

felony crimes.

      3.     These traumatic events have already shocked America. See e.g.

https://www.nytimes.com/2021/08/06/us/hawaii-mistaken-identity-release.html.

But the trauma continues. Unless all law enforcement and medical records

reflecting Joshua’s misidentification are immediately corrected, Joshua faces being

rearrested and incarcerated for Thomas R. Castleberry’s crimes.

      4.     Joshua presents federal claims for relief that arise under 42 U.S.C. §

1983 and supplemental state law claims. Joshua seeks damages and declaratory,

equitable, and injunctive relief requiring Defendants to update and properly

maintain their warrants so that Joshua is permanently excluded as the subject of

Thomas R. Castleberry’s warrant for which he was previously arrested. Joshua also

seeks an order requiring the H.P.D., P.S.D., and H.S.H. Defendants to revise their

policies and procedures to ensure proper identification of the persons in their

custody.

                             JURISDICTION AND VENUE
      5.     This case arises under the Fourth and Fourteenth Amendments of the
U.S. Constitution and Hawai’i law.
      6.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§
1331 and 1343. The Court has supplemental jurisdiction over the state law claims
under 28 U.S.C. § 1367(a).




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      7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 (b)(1)
and (b)(2) in that the unlawful actions challenged herein occurred in the District of
Hawai’i, and the defendants reside in the District of Hawai’i.
      8.     Joshua timely filed a notice of claim under H.R.S. § 46-72 on August
11, 2021 and an amended notice of claim on November 20, 2021.


                                      PARTIES
             A. Plaintiff
      9.     Plaintiff JOSHUA SPRIESTERSBACH (“Plaintiff” or “Joshua”) was
at all times relevant to the facts of this case a resident of the City and County of
Honolulu, State of Hawai‘i.
             B. Defendants
      10.    Defendant STATE OF HAWAI‘I (“State”) is a state in the United

States.

      11.    Defendant CITY AND COUNTY OF HONOLULU (“City”) is, and

was at all relevant times, a municipal corporation formed and existing under the

laws of the State of Hawai‘i. The City is or was the employer of the Individual

Honolulu Police Department (“H.P.D.”) Officers.

      12.    Defendant, OFFICER ABRAHAM K. BRUHN and Does 1-5

(collectively the “H.P.D. Officer Defendants” or “Defendant H.P.D. Officers”)

were at all times relevant to this case, officers with H.P.D. They are sued

individually and were at all relevant times, acting under the color of law and in the




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course and scope of their employment as police officers with the H.P.D. of the

Defendant City.

      13.    Defendant DEPARTMENT OF PUBLIC SAFETY (“P.S.D.”)

operates the Oahu Community Correctional Center (“O.C.C.C.”) and was at all

relevant times, a Hawai‘i state corporation formed and existing under the laws of

the State of Hawai‘i. Defendant Does 6-10 were at all times relevant to this case

employees of the P.S.D. who were employed at the O.C.C.C. Defendant Does 6-

10 were at all times relevant hereto, citizens and residents of the City and County

of Honolulu, State of Hawai‘i. They are sued individually and were at all relevant

times, acting under the color of law and in the course and scope of their

employment at the P.S.D.

      14.     Defendant OFFICE OF THE PUBLIC DEFENDER (“O.P.D.”) is,

and at all relevant times was, a Hawai‘i state corporation formed and existing

under the laws of the State of Hawai‘i.

      15.    Defendants NIETZSCHE LYNN TOLAN, MICHELLE MURAOKA,

LESLIE MALOIAN, JACQUELINE ESSER, JASON BAKER, MERLINDA

GARMA, and SETH PATEK and Defendant Does 11-15 (collectively “Defendant

Public Defenders”) were, at all times relevant, employed as Public Defenders by

the State of Hawai‘i, and were at all times relevant hereto, citizens and residents of

the City and County of Honolulu, State of Hawai‘i and working for O.P.D.




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Defendant Public Defenders are sued in their individual capacities as they were

exercising their professional judgment and discretion in representing Joshua and

they were acting in their capacity as lawyers and not as government officials.

       16.   Defendants DR. JOHN COMPTON (“Dr. Compton”), DR. MELISSA

VARGO (“Dr. Vargo”), and DR. SHARON TISZA (“Dr. Tisza”) (collectively

“Individual Psychiatric and Psychological Defendants”) were at all times relevant

hereto, citizens and residents of the City and County of Honolulu, State of Hawai‘i.

Individual Psychiatric and Psychological Defendants were, at all times relevant,

employed as psychiatrists and psychologists by the State of Hawai‘i and appointed

by the First Circuit Court of Hawai‘i to evaluate Joshua. Individual Psychiatric and

Psychological Defendants are sued in their individual capacities as they were

exercising their professional judgment and discretion in evaluating Joshua and

acting in their capacity as psychiatrists or psychologists and not as government

officials.

       17.   Defendant HAWAI‘I STATE HOSPITAL (“H.S.H.”) is and was at all

relevant times, a Hawai‘i state corporation formed and existing under the laws of

the State of Hawai‘i.

       18.   Defendant DR. ALLISON GARRETT (“Dr. Garrett”) and Does 16-20

were at all times relevant hereto, citizens and residents of the City and County of

Honolulu, State of Hawai‘i. Dr. Garrett was, at all times relevant, employed as a




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Doctor by the State of Hawai‘i at the Hawai‘i State Hospital (“H.S.H.”). Does 16-

20 were doctors and other professional staff at H.S.H. Dr. Garrett and these Doe

Defendants 16-20 are sued in their individual capacities as they were exercising

their professional judgment and not based on actions taken as government officials.

      19.    Dr. Garrett, Does 16-20, and the Individual Psychiatric and

Psychological Defendants are collectively referred to as the “Medical Defendants.”

      20.    Defendants JOHN/JANE DOES 1-20’s identities are unknown to

Joshua at this time, but upon information and belief, at all relevant times were

acting under color of law in their official capacity and in the scope of their

employment with H.P.D., P.S.D. or H.S.H. of Defendant State of Hawai‘i or City.

Joshua will give notice of their true names and capacities when ascertained.

Joshua is informed and believes and thereon alleges that Defendant Does are

responsible in some manner for the damages and injuries hereinafter complained

of.

      21.    Defendants OFFICER ABRAHAM K. BRUHN, NIETZSCHE LYNN

TOLAN, MICHELLE MURAOKA, LESLIE MALOIAN, JACQUELINE ESSER,

JASON BAKER, MERLINDA GARMA, SETH PATEK, DR. JOHN COMPTON,

DR. MELISSA VARGO, DR. SHARON TISZA, DR. ALLISON GARRETT, and

JOHN/JANE DOES 1-20 are collectively referred to herein as “Individual

Defendants.”




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      22.    Joshua is informed and believes and based thereon alleges that the

acts complained of herein were done within the course and scope of employment

by the various officials of the Entity defendants, and under color of state law.

Joshua is further informed and believes and thereon alleges that wrongful acts

and/or omissions by any individual defendant was done intentionally, maliciously,

or with reckless disregard for the rights of Joshua.

                            STATEMENT OF FACTS


      A.     Joshua Spriestersbach’s Early Life

      1.     Joshua was born on April 12, 1971 in Sacramento, California. He

graduated in 1989 from Mira Loma High School in Sacramento.

      2.     Between 1999 and 2001 Joshua lived for periods of time in California,

Kentucky, and Tennessee. He developed mental health problems and was

hospitalized several times during that period.

      3.     Joshua was hospitalized for several months at the H.S.H. in 2002 for

treatment of a mental illness that developed while living with his family in military

base housing.

      4.     When Joshua was released from the hospital in 2003, he moved to

Hawai‘i Island with the assistance of his sister and brother-in-law. Joshua lived in

a cabin in Orchidland Estates and remained on Hawai‘i Island from approximately

2003 until 2006.



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      5.     In 2006, at the time of Thomas R. Castleberry’s crimes on Oahu,

Joshua was being treated at a mental health facility on Hawai‘i Island and was not

present on Oahu.

      6.     When Joshua later moved to Oahu, he largely remained houseless

when he wasn’t being treated by H.S.H. or by Care Hawai‘i, an adult mental health

care facility. He had lost all communication with his sister and other family

members while he was houseless and living on Oahu.

      7.     Despite living in poverty and experiencing houselessness, Joshua

remained nonviolent, law abiding, and he was a free citizen, able to seek medical

care and other contact with institutions as he saw fit. The only “crimes” that Joshua

has ever been charged or convicted of were crimes of poverty, such as trespass and

sitting or lying on public sidewalks because he was houseless.

      B.     Thomas R. Castleberry’s Early Life

      8.     Unlike Joshua, Thomas R. Castleberry has spent much of his life

facing serious criminal charges and incarceration.

      9.     Since as early as 2001 until his arrest and incarceration in Hawai‘i in

2006, Thomas R. Castleberry faced numerous charges and civil actions in Georgia,

Missouri, and Iowa. These are states that Joshua has never lived in nor visited

during that time.




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       10.    On July 16, 2006, Thomas R. Castleberry was arrested by H.P.D.

 officers for numerous charges including Unauthorized Control of Propelled

 Vehicle, Promoting a Dangerous Drug in the First Degree, and Unlawful Use of

 Drug Paraphernalia.

       11.    H.P.D. fingerprinted and photographed Thomas R. Castleberry, and

 his mugshot was entered into their criminal database. Once Thomas R. Castleberry

 was transferred to O.C.C.C. while his charges were pending, his identifying

 information was also entered into the O.C.C.C. database. Additionally, per state

 policy, Thomas R. Castleberry’s identifying information was also submitted to the

 Hawai‘i Criminal Justice Data Center, a division of the Hawai‘i State Attorney

 General, which is required by law to collect and maintain a database of all

 individuals charged and convicted of crimes in the state of Hawai‘i.

       12.    Thomas R. Castleberry never represented to anyone and never

 claimed to be Joshua.

       13.    In 2007, Thomas R. Castleberry plead guilty to his crimes and was

 placed on felony HOPE probation.

       14.    Thomas R. Castleberry remained on HOPE probation and was

 monitored by the First Circuit Court until July 14, 2009, when the State of Hawai‘i

 requested that HOPE Probation Judge Court Judge Michael Wilson issue a bench

 warrant for the arrest of Thomas R. Castleberry for failing to appear in court.




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        15.     On July 24, 2009, Judge Wilson conducted a hearing and issued the

 bench warrant for Thomas R. Castleberry. The bench warrant did not include

 Joshua’s name, identifying information, or list Joshua as an alias of Thomas R.

 Castleberry.

        16.     It appears that Thomas R. Castleberry left Hawai‘i on or after 2009

 and moved to Arizona. From 2011-2014, Thomas R. Castleberry was charged with

 various felony crimes and incarcerated in Arizona.

        17.     On or before 2016, Thomas R. Castleberry moved to Alaska where he

 committed additional crimes. Thomas R. Castleberry is currently in custody with

 the Alaska Department of Corrections with an expected release date in 2022.

        18.     Joshua never used the name Thomas R. Castleberry, nor has Joshua

 ever told the police that his name is Thomas R. Castleberry. Thomas R.

 Castleberry’s date of birth and social security number are completely different than

 Joshua’s. The only commonality they share is that they both share the same birth

 year – 1971. Additionally, Thomas R. Castleberry’s H.P.D. arrestee/prisoner

 number is A1077743, whereas Joshua’s is A6017796.

        C.      Joshua Spriestersbach’s Arrest and Detention on October 14,

 2011

        19.     On October 14, 2011, Joshua was houseless and sleeping on the

 stairwell of Kawananakoa Middle School in Honolulu. An H.P.D. woke up Joshua




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 and repeatedly asked Joshua his name. Joshua would only give the arresting officer

 his grandfather’slast name, Castleberry. Joshua refused to give a first name.

       20.    The arresting officers entered the last name Castleberry into the

 mobile data computer and a warrant for Thomas R. Castleberry issued in July of

 2009 appeared.

       21.     Without any further investigation the officers arrested Joshua for the

 outstanding warrant of Thomas R. Castleberry.

       22.    Joshua told them he was not Thomas R. Castleberry, and that he was

 William C. Castleberry, again which was Joshua’s grandfather’s name and a name

 he would use on occasion.

       23.    However, Joshua was never brought before the court in 2011 on

 Thomas R. Castleberry’s warrant. This is likely due to the fact that at some point

 during the booking process H.P.D. Officers realized that Joshua was not Thomas

 R. Castleberry.

       24.    On information and belief Does 1-5 H.P.D. officers had a duty to

 correct the police department records and with deliberate indifference to Joshua’s

 constitutional rights, failed to do so.

       D.     Joshua Spriestersbach’s Arrest and Detention on January 17,

       2015




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       25.    On or about January 17, 2015, Joshua was houseless and was sleeping

 in Aala Park after hours in the City and County of Honolulu.

       26.    The arresting officer approached Joshua and asked his name. Joshua

 initially refused to give his name, but ultimately told the officer his name, Joshua

 Spriestersbach.

       27.     An officer ran prints and identified him as Joshua Spriestersbach.

       28.    Since H.P.D. Officers did not correct their mistake in 2011, when

 Joshua was arrested in 2015, the H.P.D. database continued to list Thomas R.

 Castleberry as an alias of Joshua.

       29.     A warrant check was then performed for the name Joshua

 Spriestersbach, alias William C. Castleberry, and Thomas R. Castleberry.

       30.    The 2009 warrant for Thomas R. Castleberry was active so the

 officers checked Joshua’s prints against Thomas R. Castleberry’s and found that

 Joshua’s prints did not match the prints they had on file for Thomas R. Castleberry.

       31.    This time, because the officers had compared Joshua and Thomas R.

 Castleberry’s prints before booking Joshua on Thomas R. Castleberry’s warrant,

 Joshua was not arrested on Thomas R. Castleberry’s outstanding warrant.

       32.    On information and belief Does 1-5 H.P.D. officers had a duty to

 correct the police department records and with deliberate indifference to Joshua’s

 constitutional rights, failed to do so.




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       E.     Joshua Spriestersbach’s Arrest and Detention on May 11, 2017

       33.    On May 11, 2017, Joshua, was houseless and waiting for food with

 many others outside of Safe Haven, located at 126 N. Pauahi St. Honolulu, HI

 96817.

       34.    Due to the long lines and heat, Joshua fell asleep on the sidewalk

 while waiting in line. At some point, Joshua was awoken by Defendant H.P.D.

 Officer Bruhn alone or with unknown H.P.D officer(s) Does 1-5, who promptly

 arrested Joshua.

       35.    Joshua did not have identification on his person, but he provided

 H.P.D. Officer Bruhn, who was acting alone or with unknown H.P.D officer(s)

 Does 1-5, with his full name “Joshua Spriestersbach”, date of birth, and social

 security number.

       36.    On information and belief, on or about May 11, 2017, Defendant

 H.P.D. Officer Bruhn acting alone or with unknown H.P.D officer(s) Does 1-5

 hand wrote the name Joshua Spriestersbach as an alias to Thomas R. Castleberry

 on the face of the warrant, which had remained active and open. In adding Joshua’s

 name to the warrant, Defendant H.P.D. Officer Bruhn, acting alone or with

 unknown H.P.D officer(s) Does 1-5, acted without probable cause or authority as

 there was no basis to add Joshua’s name to Thomas R. Castleberry’s warrant.




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          37.   On May 11, 2017, Defendant H.P.D. Officer Bruhn acting alone or

 with unknown H.P.D officer(s) Does 1-5, arrested Joshua under Thomas R.

 Castleberry’s eight-year-old bench warrant, without any probable cause.

          38.   On May 11, 2017, Joshua was transported to Department of Public

 Safety’s (“P.S.D.”) O.C.C.C., where he was fingerprinted and his photograph was

 taken.

          39.   Defendant H.P.D. Officer Bruhn and unknown Defendants H.P.D.

 Officers Does 1-5 and unknown employees Defendant Does 6-10 at O.C.C.C.,

 failed to verify Joshua’s identity by comparing his name, photo, fingerprints, and

 date of birth to that of Thomas R. Castleberry. By failing to verify his identity

 these defendants acted in violation of all applicable rules and regulations and

 relevant standards of care, causing injury to Joshua.

          40.   If unknown Defendants Does 6-10, employees at O.C.C.C., had

 simply compared the booking photos of Joshua to the photo of Thomas R.

 Castleberry when he was booked at O.C.C.C., they would have discovered the

 misidentification of Joshua.




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               Joshua C. Spriestersbach         Thomas R. Castleberry

       As evidenced by Joshua and Thomas R. Castleberry’s photos above and

 their other identifying information, none of the identifying information of Joshua

 matched Thomas R. Castleberry’s.

       41.    Joshua remained at O.C.C.C. for approximately four months. During

 that entire time Joshua was never properly identified.

       F.     Defendant Public Defenders and State Hospital Defendants Fail to
              Verify Identify of Joshua Spriestersbach For More than Two
              Years

       42.    Defendant D.P.D. Tolan was appointed to represent Joshua.

       43.    Prior to his first court hearing, Joshua told Defendant D.P.D. Tolan

 that he was not Thomas R. Castleberry and had not committed Thomas R.

 Castleberry’s crimes. He provided D.P.D. Tolan with his identifying information

 and told D.P.D. Tolan that he was not even on Oahu in 2006 when Thomas R.

 Castleberry committed his crimes.




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       44.    Instead of investigating or verifying his client’s information, D.P.D.

 Tolan requested that the court order a three-doctor panel (Individual Psychiatric

 and Psychological Defendants Dr. John Compton, Dr. Vargo, and Dr. Tisza) to

 evaluate Joshua and determine his mental fitness to proceed.

       45.    While Joshua was held at H.S.H. under the name of Thomas R.

 Castleberry and subject to competency evaluations and hearings, he was

 represented by six additional public defenders, all of whom are Defendants in this

 case. Namely, Michelle Muraoka, Leslie Maloian, Jacqueline Esser, Jason Baker,

 Merlinda Garma, Seth Patek, and unknown Doe Public Defender Defendants 11-

 15. Neither Defendant Tolan nor any of these additional Defendant Public

 Defenders verified the identity of their client Joshua, his presence on Oahu in

 2006, or otherwise acted on the information Joshua provided to establish that he

 was not Thomas R. Castleberry.

       46.    Defendant Dr. Garrett, H.S.H. staff, and unknown Does 16-20 failed

 to verify Joshua’s identity when he was transferred from O.C.C.C. to H.S.H.

 Despite having treated Joshua previously and having access to Joshua’s medical

 records and identifying information, H.S.H. staff and doctors failed to review their

 own files and records to verify Joshua’s identity.

       47.    At H.S.H., Joshua was evaluated on multiple occasions by Individual

 Psychiatric and Psychological Defendants Dr. John Compton, Dr. Vargo, and Dr.




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 Tisza. Despite being required to access and having actual access to both Joshua’s

 legal and medical records, they failed to verify his identity. Throughout this time,

 Joshua continually advised them and other staff at H.S.H. of his real name and

 identity. These Defendants also ignored the fact that Joshua had been an occasional

 patient at H.S.H. under his name – Joshua Spriestersbach – since at least 2002.

       48.    In fact, the Defendant Public Defenders, unknown Public Defender

 Doe Defendants 11-15, Dr. Garrett, Does 16-20, and the Individual Psychiatric and

 Psychological Defendants actually used Joshua’s protests regarding his identity as

 evidence of his incompetency. Every single one of them had access to all of

 Joshua’s records and files, which included Joshua’s identifying information and the

 identifying information of Thomas R. Castleberry. Prior to January 2020, not a

 single person acted on the available information to determine that Joshua was

 telling the truth – that he was not Thomas R. Castleberry. Instead, they determined

 that Joshua was delusional and incompetent just because he refused to admit that

 he was Thomas R. Castleberry and refused to acknowledge Thomas R.

 Castleberry’s crimes.

       49.    Joshua provided the Defendant Public Defenders, unknown Public

 Defender Doe Defendants 11-15, Individual Doctor Defendants, H.S.H staff and

 doctors, and Does 16-20 with his name, date of birth, social security number, but

 they simply failed to use that information to properly identify Joshua.




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       50.      On or about February 26, 2018, unknown H.S.H. staff and Doctors

 including Does 11-15 took Joshua into the community to get copies of his social

 security card and his Hawai‘i state identification card.

       51.      Joshua was issued identification documents demonstrating to the

 H.S.H. that he was in fact Joshua Spriestersbach and not Thomas R. Castleberry.

       52.      In spite of having conclusive proof that Joshua was not Thomas R.

 Castleberry, Defendant Garrett, unknown H.S.H. staff and Doctors Does 16-20,

 and the entire treatment team responsible for Joshua, continued to illegally

 incarcerate Joshua for two more years.

       53.      Unknown H.S.H. staff and Doctors Does 16-20 also had a history of

 previously treating Joshua, but they all failed to review Joshua’s records and files,

 failed to believe their own client and their own patient, and failed to investigate his

 identity whatsoever.

       G.       Joshua Spriestersbach’s Identity Finally Confirmed and He is
                Released but Remains at Risk of Rearrest

       54.      Eventually in January 2020, Defendant Dr. Garrett, a physician at

 H.S.H., verified that Joshua was in fact Joshua Spriestersbach and not Thomas R.

 Castleberry.

       55.      Joshua was released from H.S.H on January 17, 2020. He was

 provided fifty cents, two copies of his birth certificate, state I.D., a social security




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 card, and a ride right back to the homeless shelter where he was arrested on May

 17, 2017, thirty-two months earlier.

       56.    On or about January 20, 2020, Defendant Public Defender Seth

 Patek, unknown Public Defender Defendant Does 11-15, representatives of the

 attorney general, and the prosecutor all met in court in an off the record session,

 without notice to Joshua and without him being present. These representatives

 discussed Joshua’s release from the hospital, and worked collectively to cover up

 Joshua’s false imprisonment and unwanted medical treatment.

       57.    None of the Defendants took any steps at the time of Joshua’s release,

 or any time after, to properly update the warrant for Thomas R. Castleberry and/or

 correct records that improperly list Joshua Spriestersbach as an alias for Thomas R.

 Castleberry and vice-versa. As of the date of this filing, the Hawai‘i Criminal

 Justice Data Center which is maintained by Hawai‘i Attorney General’s office still

 lists Thomas R. Castleberry as an alias of Joshua Spriestersbach. Joshua therefore

 remains in jeopardy of once again being falsely arrested and incarcerated for

 Thomas R. Castleberry’s many crimes, because Thomas R. Castleberry’s warrant

 was reissued without correction by the Court after Joshua was released from

 H.S.H.

       58.    It was not until after Joshua was released that the State of Hawaii’s

 Data base had, for the first time, listed Thomas R. Castleberry with the alias of




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 Joshua Spriestersbach. Thomas R. Castleberry never had or used the alias name of

 Joshua Spriestersbach,

       59.    On information, and belief, the database was altered as an attempt to

 cover-up, explain and excuse the gross miscarriage of justice that was done to

 Joshua.

       H.     Failures By Defendant Individuals and Institutions

       60.    At all times relevant to this case the Defendants acted recklessly,

 willfully and with deliberate indifference to the rights and health of Joshua.

 Defendants, individually and collectively, owed a duty to Joshua and breached

 their duty to Joshua by failing to investigate and confirm his identity so that he

 would not be unlawfully held in custody for someone else’s crimes.

       61.    At all times relevant to this action the City had a practice of

 authorizing warrants to be amended by officers without authority from the issuing

 Court; of failing to correct the records after discovery that persons have been

 arrested improperly on warrants for other individuals; of failing to properly

 investigate the identity of houseless and mentally ill persons that are arrested; and

 of failing to correct the records of houseless and mentally ill persons who have

 been improperly arrested. These practices and customs were the moving force

 behind Joshua’s improper arrest and detention.




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       62.     At all times relevant to this action, the City has failed to train and

 supervise Officer Defendant Braun, Defendant H.P.D. Officers Does 1-5, and other

 officers to determine exactly who they are arresting and to make sure accurate

 information is in their records, particularly when the officers are interacting with

 mentally ill and/or houseless members of the community. These failures to train

 and supervise were the moving force behind Joshua’s improper arrest and

 detention.

       I.     Joshua Spriestersbach’s Physical and Mental Injuries

       63.    As a direct, proximate and/or legal result of the individual and/or

 collective negligence and/or other fault of the Defendants, Joshua suffered special

 and general economic and non-economic damages to be proven at trial, including

 forced medical treatment and medication, loss of freedom, great mental anguish,

 severe emotional distress, anxiety, embarrassment, humiliation, worry, and anger.

                         FIRST CLAIM FOR RELIEF
       42 U.S.C. § 1983 - VIOLATIONS OF U.S. CONST. AMEND. IV
   (Against H.P.D. Officer Defendants, City, P.S.D., and Medical Defendants)

       64.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       65.    H.P.D. Officer Defendants, City, P.S.D., and Medical Defendants

 knew or should have known that Joshua was not Thomas R. Castleberry. Despite




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 that knowledge, Defendants unreasonably and without cause arrested and detained

 Joshua in May 2017.

       66.    Does 6-10, who were on information and belief employees of the

 P.S.D. at O.C.C.C., caused Joshua to be detained without probable cause beginning

 in 2017 after Joshua’s arrival at O.C.C.C. There was no reasonable basis to detain

 Joshua, and indeed the O.C.C.C.’s own booking photographs showed that Joshua

 was not Thomas R. Castleberry.

       67.    Medical Defendants (Dr. Allison Garrett, Dr. John Compton, Dr.

 Melissa Vargo, Dr. Sharon Tisza, and Does 16-20) caused Joshua to be detained

 beginning in 2017, when Joshua was subjected to their evaluation and treatment.

 They failed to verify Joshua’s identify despite Joshua continuously advising them

 that he was not Thomas R. Castleberry, and despite these Defendants having the

 correct medical information, including records of previous treatment of Joshua.

 These defendants acted with deliberate indifference to Joshua’s serious medical

 needs. Further, their response to his medical needs was objectively unreasonable.

       68.    The City is liable for these Fourth Amendment violations due to its

 customs, policies, and practices which tolerated and allowed such conduct by

 H.P.D. officers to occur and were a moving force causing the violation.

       69.    As a proximate result of Defendants’ acts and omissions, Joshua was

 arrested, detained, and suffered the injuries discussed above.




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       70.    In engaging in the inactions and actions alleged, the Defendants listed

 in this claim acted under color of law and acted maliciously, oppressively, and/or

 in reckless disregard of Joshua’s constitutional rights, and are liable for punitive

 damages.

                       SECOND CLAIM FOR RELIEF
            42 U.S.C. § 1983 - VIOLATION OF DUE PROCESS,
                         U.S. CONST. AMEND. XIV
 (Against H.P.D. Officer Defendants, City, Individual Defendants, and Medical
                                Defendants)

       71.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       72.    Defendants H.P.D. Officer Defendants, City, Individual Defendants,

 and Medical Defendants knew or should have known that Joshua was not Thomas

 R. Castleberry and that Joshua was not the subject of the warrant for which he was

 arrested and detained. In spite of this, Defendants actively established Joshua as

 the target of the warrant – including modifying the warrant or Joshua’s identifiers

 to falsely indicate he was Thomas R. Castleberry – or failed to take any action to

 correct the false information, which Defendants knew or should have known to be

 false and would likely to cause Joshua to be falsely detained.

       73.    Joshua had a significant interest in his right to be free of detention and

 arrests, and failing to update Thomas R. Castleberry’s warrant and related




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 databases Defendants Does 1-5 created a substantial risk of the deprivation of that

 interest.

        74.   It was eminently reasonable, available, and costless to simply update

 Joshua’s information and release him. Nonetheless, Defendants took no reasonable

 steps to do either until January 2020, causing him to baselessly remain in custody

 and be deprived of his liberty interest for 32 months.

        75.   The City is liable for these Fourteenth Amendment violations due to

 its customs, policies, and practices which tolerated and allowed such conduct by

 H.P.D. officers to occur and were a moving force causing the violation.

        76.   As a proximate result of Defendants’ acts and omissions, Joshua was

 arrested and detained and suffered the injuries discussed above.

        77.   In engaging in the inactions and actions alleged, the Defendants listed

 in this claim acted maliciously, oppressively, and/or in reckless disregard of

 Joshua’s constitutional rights, and are liable for punitive damages.

                         THIRD CLAIM FOR RELIEF
  DISCRIMINATION ON THE BASIS OF DISABILITY IN VIOLATION OF
               THE AMERICANS WITH DISABILITIES ACT
                           (42 U.S.C. § 12101 et seq.)
   (Against City, P.S.D., H.S.H., State of Hawai‘i, Office of Public Defender)

        78.   Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.




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       79.    Joshua suffers from a “disability” within the meaning and scope of 42

 U.S.C. § 12102. In particular, Joshua’s disability and the perception of him by

 those in authority makes it difficult for his statements of fact about his identity to

 be trusted; makes his statements regarding his understanding of legal proceedings

 to be discounted; and causes him to be confused, all resulting in difficulty in

 locating and staying in touch with his mother and sister and other family, difficulty

 in expressing his mental health treatment needs, and otherwise meeting his daily

 medical, shelter, food, and mental health needs. Thus his disability substantially

 interferes with his ability to work, secure food, secure housing, navigate

 interactions with police and persons in authority, and remain safe without

 reasonable accommodation. Accordingly, Joshua is a member of the class of

 persons protected by 42 U.S.C. § 12132, which makes it unlawful for a public

 entity to discriminate against an individual with a disability or to deny the benefits

 of services, programs, or activities of a public entity to a person with a disability.

       80.    As alleged herein, Defendants listed in this claim discriminated

 against Joshua and failed to provide reasonable accommodations for Joshua’s

 disability as described above. For example, the employees of Defendants knew that

 Joshua suffered from a mental health disability, and discounted and ignored

 Joshua’s statements about his identity, even when his documents and other

 information verified his identity, and failed to provide him the reasonable




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 accommodation of crediting and investigating his statements and ending his

 baseless arrest and extended detention.

       81.    Defendant City is a public entity within the meaning of 42 U.S.C. §

 12131. Defendant City is vicariously liable for the acts of the Officer Bruhn and

 H.P.D. Officer Defendant Does 1-5, and directly liable for its own failures to

 provide reasonable accommodations for Joshua, including through its failure to

 provide any reasonable training or policies concerning accommodating or

 interacting with the mentally ill.

       82.    Defendant P.S.D. is a public entity within the meaning of 42 U.S.C. §

 12131. It is vicariously liable for the acts of the Does 6-10, and directly liable for

 its own failures to provide reasonable accommodations for Joshua, including

 through its failure to provide reasonable training and policies accommodating or

 interacting with the mentally ill.

       83.    Defendant O.P.D. is a public entity within the meaning of 42 U.S.C. §

 12131. It is vicariously liable for the acts of the Defendant Public Defenders and

 Does 11-15, and directly liable for its own failures to provide reasonable

 accommodations for Joshua, including through its failure to provide reasonable

 training and policies accommodating or interacting with the mentally ill.

       84.    Defendant H.S.H. is a public entity within the meaning of 42 U.S.C. §

 12131. It is vicariously liable for the acts of Dr. Garrett, hospital staff, and Does




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 16-20, and is directly liable for its own failures to provide reasonable

 accommodations for Joshua, including through its failure to provide reasonable

 training and policies accommodating or interacting with the mentally ill.

       85.    Defendant State of Hawai‘i is a public entity within the meaning of 42

 U.S.C. § 12131. It is vicariously liable for the acts of the state employees and

 directly liable for its own failures to provide reasonable accommodations for

 Joshua, including through its failure to provide reasonable training and policies at

 O.C.C.C. and H.S.H., thereby denying reasonable accommodations to the Joshua

 and other mentally ill persons.

       86.    As a proximate result of the acts and omissions of the City, State of

 Hawai‘i, H.S.H., P.S.D. and O.P.D., and the acts and omissions for which each is

 vicariously liable, Joshua was arrested and detained and suffered the injuries

 discussed above.

                       FOURTH CLAIM FOR RELIEF
        42 U.S.C. § 1983 - VIOLATIONS OF U.S. CONST. AMEND. IV
                            ABUSE OF PROCESS
         (Against Defendants Officer Abraham K. Bruhn, Does 1-5, and
                                  City)

       87.     Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       88.    On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.




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       89.    After initiating proceedings against Joshua, the Defendants Officer

 Abraham K. Bruhn, Does 1-5, and City’s continued to commit multiple willful

 actions for the improper purpose of prosecuting Joshua for a crime he did not

 commit, as more fully alleged above. The Defendants Officer Abraham K. Bruhn,

 Does 1-5, and City used the courts and their authority to cause pain and harm to

 Joshua despite his innocence and for an improper purpose.

       90.    As a result of the Defendants Officer Abraham K. Bruhn, Does 1-5,

 and City’s misconduct described in this count, Joshua suffered loss of liberty, great

 mental anguish, humiliation, degradation, physical and emotional pain and

 suffering, and other grievous and continuing injuries and damages.

                        FIFTH CLAIM FOR RELIEF
                       MALICIOUS PROSECUTION
         (Against Defendants Officer Abraham K. Bruhn and Does 1-5)

       91.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       92.    On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       93.    The Defendants H.P.D. Officer Bruhn and Does 1-5, actions and

 conduct as set forth above were malicious, as they maliciously initiated

 proceedings against Joshua without probable cause, resulting in Joshua’s wrongful

 detention and prosecution, until the proceedings were terminated in favor of Joshua




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 when he was correctly identified as Joshua C. Spriestersbach (and not Thomas R.

 Castleberry) and finally released from custody, as more fully alleged above.

       94.    As a result of Defendants H.P.D. Officer Bruhn and Does 1-5’s

 misconduct described in this count, Joshua suffered loss of liberty, great emotional

 anguish, humiliation, degradation, physical and emotional pain and suffering, and

 other grievous and continuing injuries and damages.

                      SIXTH CLAIM FOR RELIEF
                        FALSE IMPRISONMENT
        (Against Defendant Does 6-10, P.S.D., and State of Hawai‘i)

       95.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       96.    On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       97.    Defendant Does 6-10, P.S.D., and State of Hawai‘i intentionally

 confined Joshua without lawful privilege and against his consent, causing him

 physical and emotional injury.

                    SEVENTH CLAIM FOR RELIEF
                            NEGLIGENCE
        (Against Defendant Does 6-10, P.S.D., and State of Hawai‘i)

       98.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.




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       99.    On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       100. Defendant Does 6-10, P.S.D., and State of Hawai‘i owed Joshua a

 legal duty to conform to a standard of care, namely, to ensure that it did not

 deprive him of his liberty without a valid basis.

       101. Defendant Does 6-10, P.S.D., and State of Hawai‘i breached the duty,

 causing Joshua injury.

       102. As a proximate result of the breach of the duties of Defendant Does 6-

 10, P.S.D., and State of Hawai‘i, Joshua suffered loss of liberty, great mental

 anguish, humiliation, degradation, physical and emotional pain and suffering, and

 other grievous and continuing injuries and damages.

                    EIGHTH CLAIM FOR RELIEF
                       FALSE IMPRISONMENT
        (Against Medical Defendants, H.S.H., and State of Hawai‘i)

       103.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       104. On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       105. The Medical Defendants (Dr. Garrett, the Individual Psychiatric and

 Psychological Defendants, and Does 16-20), H.S.H., and State of Hawai‘i




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 intentionally confined Joshua without lawful privilege and against his consent, as

 described above, causing physical and emotional injury to him.

                     NINTH CLAIM FOR RELIEF
                            NEGLIGENCE
        (Against Medical Defendants, H.S.H., and State of Hawai‘i)

       106.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       107. On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       108. The Medical Defendants (Dr. Garrett, the Individual Psychiatric and

 Psychological Defendants, and Does 16-20), H.S.H., and State of Hawai‘i owed

 Joshua a duty to conform to a standard of medical care, namely, to ensure that they

 did not deprive him of his liberty without a valid basis and provided him with

 adequate medical care.

       109. The Medical Defendants, H.S.H., and State of Hawai‘i failed to

 properly identify Joshua once he was in the care of H.S.H.

       110. The Medical Defendants, H.S.H., and State of Hawai‘i all had in their

 possession, copies of all of Joshua’s legal and medical records which included

 identifying information of Joshua and Thomas R. Castleberry.

       111. The Medical Defendants, H.S.H., and State of Hawai‘i failed to

 review their own files and further failed to investigate claims raised by Joshua




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 throughout the course of his confinement at H.S.H. that he was not Thomas R.

 Castleberry and had not committed Thomas R. Castleberry’s crimes.

       112. The Medical Defendants, H.S.H., and State of Hawai‘i ignored

 Joshua’s claims and determined him to be delusional and decompensating, and

 recommended more medication be administered to Joshua against his will.

 Ignoring Joshua, Defendants H.S.H., Medical Defendants, and State of Hawai‘i got

 a court order to administer strong anti-psychotic medication that caused Joshua

 much physical and emotional anguish.

       113. The Medical Defendants, H.S.H., and State of Hawai‘i owed Joshua a

 duty to conform to a standard of medical care, namely, to ensure that it did not

 deprive him of his liberty without a valid basis and provided him with adequate

 medical care.

       114.      The Medical Defendants, H.S.H., and State of Hawai‘i breached their

 duty, causing Joshua injury.

       115. As a proximate result of the breach of their duties by the Medical

 Defendants, H.S.H., and State of Hawai‘i Joshua suffered loss of liberty, great

 mental anguish, humiliation, degradation, physical and emotional pain and

 suffering, and other grievous and continuing injuries and damages.

                       TENTH CLAIM FOR RELIEF
                         MEDICAL MALPRACTICE
           (Against Medical Defendants, H.S.H., and State of Hawai‘i)




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       116. Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       117. On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       118. The Medical Defendants (Dr. Garrett, the Individual Psychiatric and

 Psychological Defendants, and Does 16-20), H.S.H., and State of Hawai‘i owed

 Joshua a duty to conform to a standard of medical care, namely, to ensure that they

 did not deprive him of his liberty without a valid basis and provided him with

 adequate medical care.

       119. The Medical Defendants, H.S.H., and State of Hawai‘i failed to

 properly identify Joshua once he was in the care of H.S.H.

       120. The Medical Defendants, H.S.H., and State of Hawai‘i all had in their

 possession, copies of all of Joshua’s legal and medical records which included

 identifying information of Joshua and Thomas R. Castleberry.

       121. The Medical Defendants, H.S.H., and State of Hawai‘i failed to

 review their own files and further failed to investigate claims raised by Joshua

 throughout the course of his confinement at H.S.H. that he was not Thomas R.

 Castleberry and had not committed Thomas R. Castleberry’s crimes.

       122. The Medical Defendants, H.S.H., and State of Hawai‘i ignored

 Joshua’s claims and determined him to be delusional and decompensating, and




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 recommended more medication be administered to Joshua against his will.

 Ignoring Joshua, Defendants H.S.H., Medical Defendants, and State of Hawai‘i got

 a court order to administer strong anti-psychotic medication that caused Joshua

 much physical and emotional anguish.

       123. The Medical Defendants, H.S.H., and State of Hawai‘i owed Joshua a

 duty to conform to a standard of medical care, namely, to ensure that it did not

 deprive him of his liberty without a valid basis and provided him with adequate

 medical care.

       124.      The Medical Defendants, H.S.H., and State of Hawai‘i breached their

 duty, causing Joshua injury.

       125. As a proximate result of the breach of their duties by the Medical

 Defendants, H.S.H., and State of Hawai‘i Joshua suffered loss of liberty, great

 mental anguish, humiliation, degradation, physical and emotional pain and

 suffering, and other grievous and continuing injuries and damages

                      ELEVENTH CLAIM FOR RELIEF
         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
        (Against Individual Defendants, City, P.S.D., H.S.H., and State of
                                Hawai‘i)

       126. Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       127. On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.


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       128. The Individual Defendants, City, P.S.D., H.S.H., and State of

 Hawai‘i’s actions and conduct as set forth above were intentional, reckless,

 extreme, and outrageous. Additionally, the Individual Defendants, City, P.S.D.,

 H.S.H., and State of Hawai‘i’s actions were rooted in an abuse of power of

 authority and were undertaken with the intent to cause or were in reckless

 disregard for the probability that their actions would cause Joshua severe emotional

 distress, as more fully alleged above.

       129. As an actual and proximate result of the Individual Defendants, City,

 P.S.D., H.S.H., and State of Hawai‘i’s actions, Joshua suffered and continues to

 suffer severe emotional distress.

                       TWELFTH CLAIM FOR RELIEF
          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
        (Against Individual Defendants, City, P.S.D., H.S.H., and State of
                                 Hawai‘i)

       130.    Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       131. On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       132. Alternatively, the Individual Defendants, City, P.S.D., H.S.H., and

 State of Hawai‘i’s actions and conduct as set forth above were negligent, but still

 extreme and outrageous. The Individual Defendants, City, P.S.D., H.S.H., and

 State of Hawai‘i’s actions were rooted in an abuse of power of authority and were


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 undertaken negligently and with disregard for the probability that they would cause

 Joshua severe emotional distress, as more fully alleged above.

       133. As an actual and proximate result of the Individual Defendants , City,

 P.S.D., H.S.H., and State of Hawai‘i’s actions, Joshua suffered and continues to

 suffer severe emotional distress.

                     THIRTEENTH CLAIM FOR RELIEF
                           LEGAL MALPRACTICE
           (Against Defendant O.P.D. and Individual Public Defenders)

       134.     Joshua restates and incorporates by reference the foregoing

 paragraphs as if each paragraph was fully set forth herein.

       135. On August 11, 2021, Joshua timely filed a notice of claim under

 H.R.S. § 46-72 and filed an amended notice of claim on November 20, 2021.

       136. Defendant O.P.D., Individual Public Defenders, and Public Defender

 Does 11-15 owed Joshua a duty of care to diligently investigate the issue of

 identity in his case.

       137. Defendant O.P.D., Individual Public Defenders, and Public Defender

 Does 11-15 had a duty to confer with Joshua on the objective of their

 representation.

       138. Defendant O.P.D., Individual Public Defenders, and Public Defender

 Does 11-15 had a duty to read Thomas R. Castleberry’s court file, Joshua’s files,

 and Joshua’s medical reports. The medical reports submitted to the court on the




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 issue of competency mentioned numerous times that Joshua was insisting he was

 not Thomas R. Castleberry and that some Individual Defendant Doctors confirmed

 he was not Thomas R. Castleberry. Defendant O.P.D., Individual Public

 Defenders, and Public Defender Does 11-15 failed to act on this information in the

 files and otherwise investigate their client’s identity, which would have shown that

 Joshua was not Thomas R. Castleberry and that Joshua was telling the truth.

       139. In January 2020, once they admitted that Joshua had been wrongfully

 incarcerated for Thomas R. Castleberry’s crimes, Defendant Patek, Defendant

 O.P.D., Individual Public Defenders, and Public Defender Does 11-15 had a duty

 to make a record with the Court and also request that the criminal database be

 corrected so that Joshua would not be unlawfully arrested and incarcerated as

 Thomas R. Castleberry in the future. None of those actions were taken and Joshua

 was not even given notice of or transported to the courtroom for the off the record

 meeting on his case.

       140. Defendant O.P.D., Individual Public Defenders, and Public Defender

 Does 11-15 breached their duty as written above.

       141. As a proximate result of the breach of their duties by the Defendant

 O.P.D., Individual Public Defenders, and Public Defender Does 11-15, Joshua

 suffered loss of liberty, great mental anguish, humiliation, degradation, physical




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 and emotional pain and suffering, and other grievous and continuing injuries and

 damages.

                                  PRAYER FOR RELIEF
       WHEREFORE, Joshua respectfully requests relief as follows:


       142. General and compensatory damages against all Defendants, jointly

 and severally, in an amount according to proof at trial;

       143. Punitive and exemplary damages against all Defendants sued in their

 individual capacities in an amount to be proven at trial;

       144. Attorney’s fees pursuant to 42 U.S.C. § 1988, 42 U.S.C. § 12205, and

 any appropriate state law theory;

       145. Any and all other damages allowed by law according to proof to be

 determined at the time of trial in this matter;

       146. All fees and costs allowed by law;

       147. An Injunction prohibiting defendants from continuing to enforce

 Thomas R. Castleberry’s warrant until it is properly updated and actions are taken

 to prevent any further false arrest of Joshua on that warrant and to correct the

 criminal database that has the name Thomas R. Castleberry as an alias of Joshua

 Spriestersbach.

       148. Any other relief the court deems just, including appropriate orders to

 remedy systemic defects in warrant and arrest procedures at the City, booking and



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 detention procedures at O.C.C.C., patient identification, admission and treatment

 procedures at H.S.H., and client identification and representation procedures at

 D.P.D.

                           DEMAND FOR JURY TRIAL
       Joshua hereby respectfully demands that a trial by jury be conducted with
 respect to all issues presented herein.

  Dated: November 22, 2021                 HAWAI‘I CIVIL RIGHTS PROJECT

                                           By: /s/ Jennifer L. Brown
                                                Jennifer L. Brown
                                                Alphonse A. Gerhardstein
                                                Jacqueline Greene
                                                Paul Hoffman
                                                John Washington

                                                Attorneys for Plaintiff
                                                JOSHUA SPRIESTERSBACH




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